Case 21-60052 Document 83 Filed in TXSB on 11/24/21 Page 1 of 8

UNITED STATES BANKRUPTCY COURT
SOUTHERN AND WESTERN DISTRICTS OF TEXAS

|. HOUSTON DIVISION

 

CASENAME:|ScottVincentVanDyke = Petition Date:| 08/25/2021

   

CASE NUMBER:|. 2 1-60052,

 

THIS REPORT IS FOR THE MONTH/YEAR (example: MAY/1995) OF |October-2021

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

All Individual Debtor-In-Possession Checking, Savings, Brokerage Accounts: All Non-Debtor-In-Possession Accounts:
BANK NAME: ACCOUNT NO.: BANK NAME: ACCOUNT NO.:
iFrostBank 802840308 J

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(attach list if needed) (attach list if needed)

A copy of a reconciled statement should be attached for each and all accounts,
_ a pe 822,980.18 ($22,950.18
Total Disbursements from MOR-7 Total Disbursements from MFR-2 Total Disbursements
Or Small Business Exhibit B-1 (When the debtor is an Individual)

(When the debtor is a sole proprietorship)

Are all post-petition liabilities, including taxes, being paid within terms? Yes{__No[X

 

Have any pre-petition liabilities been paid ? Yes! NolX If so, explain | oe

 

Are all U.S. Trustee Quarterly Fee Payments current? Yes Wv Nol.

What is the status of your Plan of Reorganization? |
i

***The original of this document must be filed with the United States Bankruptcy Court and a copy must be sent to the United States Trustee***

 

Attorney Name: / Susan Tran Adams
Firm: [Tran Singh LLP i I certify under penalty of perjury that the following complete
Address: [2502 La Branch Stect Monthly Financial Report (MFR), consisting of MFR-1 through
Add ee MFR-3 plus attachments, is true and correct.

ress: |

City State, Zip: [Houston, 1x 77004

Telephone: [8328767309 SIGNER (ago

(ORIGINAL’SIGNATURE)

 

 

 

 

 

 

 

 

 

 

MFR-1

 
Case 21-60052 Document 83 Filed in TXSB on 11/24/21 Page 2 of 8
This FORM is for INDIVIDUALS ONLY

Petition Date: o..

 

CASE NAME: Scott Vincent Van Dyke

CASH RECEIPTS AND
DISBURSEMENTS

1. CASH - BEGINNING OF MONTH
RECEIPTS

TOTAL RECEIPTS

Draw from (Contribution to) Operation of Business MOR-7 or
Small Business Exhibit B-1

DISBURSEMENTS

SUB-TOTAL DISBURSEMENTS (for Individual)
18. PROFESSIONAL FEES

TOTAL DISBURSEMENTS
NET CASH FLOW

1. CASH - END OF MONTH

MFR-2

 

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CASE NUMBER! _...21-60052

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Revised: 1342014
Case 21-60052 Document 83 Filed in TXSB on 11/24/21 Page 3 of 8

This FORM is for INDIVIDUALS ONLY

 

POST-PETITION LIABILITIES | moni MONTH

Wells Fargo Auto

TOTAL SECURED

AT&T U-Verse |

City of Houston -ARA

City of Houston - Water -

Triagle Energy
US Trustee Payment Center
Midiand Insurance .
CenterPoint Energy

State Farm Insurance

TOTAL UNSECURED

TOTAL TAXES

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TOTAL POST-PETITION LIABILITIES (for Individual) SUBS] 8 9.281.56)7 8. 2,89083][—.95,60087|[

MEFR-3

$ 100,029.86

Revised: 131-2014

CASE NAME; Scott Vincent Van Dyke j CASE NUMBERY 24-6082

 
Case 21-60052
Case Name: Scott Vincent Van Dyke

Document 83 Filed in TXSB on 11/24/21 Page 4 of 8

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

OTHER CASH RECEIPTS AND DISBURSEMENTS June 2021 July 2021 August 2021 September 2021 | October 2021
Other Receipts
Cash $ - = $ - = §$ 500.00 | $ 2,440.00 | $ -
Northwestern Mutual Insurance Ss - $ - $ - $ 94.28 | §$ -
HomeGoods - Item returned $ - $ - $$ 64.93 | § co $ -
Texas Petroleum Operations - Reimbursement $ - § - $ - $ - 50.00 | $ -
Theresa Van Dyke $ 31,500.00 | $ 2,000.00  $ ~ §§ - $ 24,000.00
MFR-2 3 ; 31,500.00 | $ 2,000.00 . $ 564.93  $ 2,584.28 | $ 24,000.00
Other Disbursements i -
Bank Charges © ee $ 75.00 § $ 340.27 . $ 8.00 $ 43.00 $ 8.00
Parking $s - § 24.00 $ - | -
Personal Care 3 339.84 $ _- 8s - -
_ $s 21643 $ 383.77 § - - -
$ 12,484.07 $ 3,299.75 $ 530.93 | $ 66.18 § -
MFR-2 $ 13,115.34 § 4,047.79 $ 538.93  $ 109.18 $ 8.00

 

Case Number: 21-60052

 
Case 21-60052 Document 83 Filed in TXSB on 11/24/21 Page 5 of 8

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Case 21-60052 Document 83 Filed in TXSB on 11/24/21 Page 7 of 8

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Case 21-60052 Document 83 Filed in TXSB on 11/24/21 Page 8 of 8

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